                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE

 UNITED STATES OF AMERICA,                        )
                                                  )
                       Plaintiff,                 )
                                                  )             No. 3:14-CR-89
 v.                                               )
                                                  )
 REBECCA SANDIFER,                                )             (REEVES / SHIRLEY)
                                                  )
                       Defendant.                 )


                          ORDER OF COMMITMENT FOR
                      MENTAL EXAMINATION AND EVALUATION

                This case came before the Court on March 27, 2017, for a motion hearing on the

 Defendant’s Motion to Conduct Psychological Evaluation Pursuant to 18 U.S.C. § 4241 [Doc.

 553], filed on March 22, 2017, and referred [Doc. 555] on March 23, 2017. See 28 U.S.C. § 636(b).

 Assistant United States Attorney Brooklyn Sawyers Belk appeared on behalf of the Government.

 Assistant Federal Defender Benjamin G. Sharp represented Defendant Sandifer. Defendant

 Sandifer was excused from appearing at the hearing due to mental health problems.

                Defendant Sandifer is in custody awaiting a revocation hearing on a Petition for

 Warrant for Offender Under Supervision [Doc. 547]. Defense counsel asks the Court to order a

 mental evaluation of Defendant Sandifer’s competency to participate in her revocation hearing.

 The motion states that Defendant has a history of mental health problems and, since her initial

 appearance on the Petition, has repeatedly threatened to harm herself. In the motion, counsel asks

 that the Defendant’s revocation hearing be held in abeyance pending a psychological evaluation

 by the Bureau of Prisons.




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                At the hearing, Mr. Sharp stated that Defendant Sandifer, who was extremely

 emotional at her initial appearance and detention hearing, refused to meet with him about her case.

 He stated that when she finally consented to meet with him about one and one-half weeks after her

 detention hearing, she was withdrawn, would not make eye contact with him, and seemed not to

 care about anything, including her case. He said that the Defendant appeared to be incapable of

 participating in her defense.   He agreed that she likely did not understand the nature and

 consequences of the proceedings.

                AUSA Sawyers Belk stated that the Government did not opposed the requested

 mental evaluation. She said that based upon her own personal interactions with Defendant

 Sandifer, she believed that the Defendant suffers from mental health issues.

                Based upon the information presented in the motion and at the hearings along with

 the Court’s own observations of the Defendant at her initial appearance and detention hearing, the

 Court finds that reasonable cause exists to believe that the Defendant may presently be suffering

 from a mental disease or defect that renders her mentally incompetent to the extent that she is

 unable to understand the nature and consequences of the proceedings against her or to assist

 properly in her defense. The Court concludes that reasonable cause exists to warrant a mental

 examination and evaluation of the Defendant under 18 U.S.C. § 4241(a). Accordingly, the Court

 GRANTS the Defendant’s motion [Doc. 553] that the Defendant undergo a competency

 evaluation. It is hereby ORDERED, pursuant to Title 18, Sections 4241(b), 4247(b) and 4247(c),

 of the United States Code, as follows:

                (1) The Defendant shall remain in custody to await designation for
                confinement in a suitable facility for the purpose of conducting a
                psychiatric and/or psychological examination by one or more
                licensed or certified psychiatric and clinical psychologists. After
                designation of the facility is received, the Defendant shall be
                transported by the United States Marshal Service to such facility.


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            (2) The purpose of the evaluation shall be for one or more licensed
            or certified psychiatrists and/or clinical psychologists to conduct
            psychiatric and psychological examinations of the Defendant for the
            purpose of determining whether the Defendant is suffering from a
            mental disease or defect rendering her mentally incompetent to the
            extent that she is unable to understand the nature and consequences
            of the proceedings against her or to assist properly in her defense.

            (3) The Defendant is to submit to such examinations as ordered
            above.

            (4) The Defendant shall be given any necessary medications if
            determined appropriate by the medical staff at the facility.

            (5) The examiner and/or examiners designated to conduct such
            examinations shall, pursuant to Title 18, United States Code, Section
            4247(c), file with the Court, as soon as possible after the completion
            of such examination, a report of the examination with copies
            provided to counsel for the Defendant and counsel for the United
            States, and said report shall include:

                   (a) the Defendant’s history and present symptoms;

                   (b) a description of the psychiatric, psychological
                   and medical tests that were employed and their
                   results;

                   (c) the examiner’s findings;

                   (d) the examiner’s opinions as to diagnosis and
                   prognosis, and

                   (e) the examiner’s opinion as to whether the
                   Defendant is suffering from a mental disease or
                   defect rendering her mentally incompetent to the
                   extent that she is unable to understand the nature and
                   consequences of the proceedings against her or to
                   assist properly in her defense.
 .

            (6) Pursuant to Title 18, Section 4247(b), of the United States Code,
            the Defendant shall be committed to the custody of the Attorney
            General for the purpose of such examinations for a reasonable
            period of time not to exceed THIRTY (30) DAYS, unless otherwise
            ordered by the Court.


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            (7) The Defendant shall be FORTHWITH RETURNED to the
            custody of the United States Marshal immediately following the
            completion of the evaluation or the expiration of the thirty (30) day
            period, or any reasonable extension of that time period, whichever
            is sooner.

            (8) A competency hearing and/or status conference is set for June
            7, 2017, at 9:30 a.m. If the Defendant has returned and the Court
            has received the forensic report prior to this time, the Court may
            schedule a competency hearing on an earlier date. If the Defendant
            has not returned or the Court has not received the forensic report by
            this date, then the matter will proceed as a status conference.

            (9) The United States Marshal shall notify the Clerk of the Court
            and the undersigned’s office promptly when Defendant returns to
            this jurisdiction from the mental evaluation. If the Defendant has
            returned in time, the marshals shall bring her to the June 7, 2017
            competency hearing.

            (10) Because of the length of time necessary to evaluate the
            Defendant, the revocation hearing scheduled for April 24, 2017,
            will be held in abeyance and will be reset if and when the Defendant
            is found to be competent.

            (11) The Clerk of Court is DIRECTED to serve copies of this order
            on counsel of record and to serve three certified copies on the United
            States Marshals Service.

            IT IS SO ORDERED.
                                           ENTER:

                                                s/ C. Clifford Shirley, Jr.
                                           United States Magistrate Judge




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